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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Eastern Division

Susan Phillips, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:22−cv−01048
                                                         Honorable Andrea R. Wood
The United States of America
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 5, 2022:


        MINUTE entry before the Honorable Andrea R. Wood: Defendant's unopposed
motion for extension of time to respond to complaint and of the initial status hearing [11]
is granted. Defendant shall have until 8/11/2022 to answer or otherwise respond to the
complaint. Telephonic initial status hearing set for 7/6/2022 is stricken and reset for
8/25/2022 at 9:30 AM. To ensure public access to court proceedings, members of the
public and media may call in to listen to telephonic hearings. The call−in number is (888)
557−8511 and the access code is 3547847. Counsel of record will receive an email 30
minutes prior to the start of the telephonic hearing with instructions to join the call.
Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of
these prohibitions may result in sanctions, including removal of court−issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. The parties are directed to meet and
conduct a planning conference pursuant to Federal Rule of Civil Procedure 26(f). At least
seven days before the initial status hearing, the parties shall file a joint written status
report, not to exceed five pages in length. The initial status report shall provide the
information described on the Court's website at www.ilnd.uscourts.gov under District
Judges, Judge Andrea R. Wood, Initial Status Conference. Mailed notice (dal, )




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refer to it for additional information.
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web site at www.ilnd.uscourts.gov.
